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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                       Northern District of Illinois
             Yevgeny M Zagorodnyuk
 In re       Zhanna N Zagorodnyuk                                                                              Case No.      17-20612
                                                                                   Debtor(s)                   Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $           as allowed by Court order
              Prior to the filing of this statement I have received                                        $              5000.00
              Balance Due                                                                                  $           as allowed by Court order

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  As governed by engagement agreement attached hereto



6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:



                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 25, 2017                                                                 /s/ David P. Leibowitz
     Date                                                                          David P. Leibowitz 1612271
                                                                                   Signature of Attorney
                                                                                   Lakelaw
                                                                                   420 W. Clayton Street
                                                                                   Waukegan, IL 60085
                                                                                   8472499100 Fax: 8472499180
                                                                                   dleibowitz@lakelaw.com
                                                                                   Name of law firm




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                                                                                           53 West Jackson Blvd.
                                                                                            Chicago,IL 60604

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Your financial lifesaver™                                                                   F; +1 312.360.1502
                                                                                            www,lakelaw,com




         ATTORNEY - CLIENT LEGAL SERVICE AGREEMENT AND HANDBOOK BETWEEN
                                  LAKELAW ("A DEBT RELIEF AGENCY") AND
                          Evgeny M.Zagordnyuk and Zhanna N Zagorodnvuk ("CLIENT")

       June 30, 2017

       Mr. Evgeny M Zagorodnyuk
       Mrs. Zhanna N Zagorodnyuk


       Dear Mr. and Mrs. Zagordnyuk;

               Welcome to Lakelaw. We thank you for choosing us to represent you in your Chapter 13 case. We
       look forward to working with you and serving your legal needs in this matter.
               We would like to offer you the following engagement agreement for your Chapter 13 bankruptcy
       case based on our initial analysis of your situation.

       INTRODUCTION


               Our purpose in representing you in a case under Chapter 13 of the Bankruptcy Code is to assist you
       in obtaining a discharge in bankruptcy. This will relieve you of your obligation to pay most, if not all of
       your debts. We will also assist you in reaffirming, or agreeing to continue to pay, any debts you have,
       secured by real estate or personal property you would like to keep.

               Since the Bankruptcy Code was amended in 2005, Congress has set up consumer bankruptcy cases
       like an obstacle course. We can provide guidance, but you must do your part and carefully follow our
       instructions. Otherwise, your case could be dismissed or you could lose your discharge.

               Under the Bankruptcy Code, clients and lawyers must prepare detailed schedules and statements to
       be filed in the Bankruptcy Court. These papers will be reviewed very closely by the United States Trustee,
       which is a division of the United States Department of Justice, responsible for oversight of all bankruptcy
       cases. Your papers also will be reviewed by a private Chapter 13 trustee and perhaps the court. So accuracy
       and honesty in all respects is vital.

               Failure to be accurate and honest in all respects could lead to loss of your right to receive a
       discharge in bankruptcy and in extreme cases could lead to serious criminal prosecution. This includes
       disclosure of all assets you own, whether titled in your name or not. It also includes any claims or rights of
       action you may have, whether you have started a lawsuit, administrative proceeding or not. It includes
       claims for personal injury, employment claims, discrimination claims or contractually based claims of

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Serving your legal needs from Chicago to Miiwaukee^"                                        Waukegan,IL 60085-4216
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every nature whatever, including, for example, claims under insurance policies. Failure to schedule any
claim will likely result in your loss ofthe right to pursue such a claim as well as the denial of discharge and
other consequences mentioned above. So care and attention is

       Once you decide to hire us as your bankruptcy attorneys, please let your creditors know. They
cannot call or harass you anymore. They must call us, and if they don't, we can sue them imder the Fair
Debt Collection Practice Act. If you decide to hire us as, you can't use your credit cards anymore. We'll
ask you if you have used them since credit card companies may try to make you pay for recent charges
even though you have filed bankruptcy. Ifsomeone other than you is paying your attorney's fees, please let
us know. They will have to sign a waiver recognizing that you are our client and that we report to you even
though someone else is paying your fee.

        Because bankruptcy is a complex process-some say unnecessarily complex - our Agreement with
you is not just a statement of our duties to you and your duties to us and the court. It is also a guide to the
process and a handbook for you to refer to in making sure that you do what you are supposed to in dealing
with the bankruptcy system, the trustee, and the bankruptcy court.

YOUR OBLIGATIONS UNDER THE BANKRUPTCY CODE:

         The Bankruptcy Code imposes some very detailed and specific obligations on you as a debtor. It is
vital that you do all ofthese things for you to be able to get your discharge. We will do everything we can
do to do our part and we'll depend on you to do everything required on your part.
     □ You must take credit counseling from an approved provider within 180 days prior to filing your
       petition, but before the actual day on which you file your petition
     □ You must provide accurate and complete information for your bankruptcy petition, schedule and
         statement of financial affairs
     □ You must disclose all lawsuits you are involved in whether you are a plaintiff or defendant, even if
         they haven't started in court yet
     □ You must disclose all transfers of property to friends or relatives within the past 4 years
     □ You must disclose all transfers of anything for less than it was worth within the past 4 years
     □ You must disclose all payments to creditors 90 days before you file your bankruptcy case
     □ You must disclose all payments to friends or relatives on account of debts within the year before
         you file your bankruptcy case
     □ You must decide whether to keep, surrender, or redeem (refinance) loans secured by real estate or
       personal property and indicate that on your bankruptcy petition
     □ You must give us your most recent income tax return or tax transcript and your two most recent
       "pay advices" or "pay stubs" at the time you file your bankruptcy petition
     □ You must cooperate fully with the bankruptcy trustee appointed to oversee your case
     □ If your case is selected for audit, you must cooperate with the auditor
     □ You must appear at the "meeting of creditors" with the trustee appointed to oversee your case,
         which will happen within 30-40 days of filing of your case
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  You must complete any reaffirmation agreement within 45 days after the date first scheduled for
  your fu*st meeting ofcreditors
  You must complete a financial management course - we recommend BE Adviser at
  www,beadviser.com - 45 days after your first meeting of creditors. The fee for this course is
  $11.00 that you will pay BE Adviser directly. If vou do not take the course and provide the
  certificate, your case will be closed, but not discharged. We must then reopen the case and
  charge      vou      both        attorney's   fees   and     costs    for     tMs      process.
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STEP ONE: ANALYSIS OF THE"MEANS TEST"

Before you can file a Chapter 13 case-and get a discharge of all your debts:

       People who make less than the median income for the size of their family are not presumed to be
abusing the system by filing Chapter 7. We have opted to pursue your case imder Chapter 13. People who
have disposable income are supposed to file Chapter 13 cases in most instances.

      We will calculate your "current monthly income" under the "Means Test" to determine your
monthly payment under a Chapter 13 Plan for the 60-month commitment period of your case.

Your First Homework Assignment:

        In order for us to file your Chapter 13 case, we have to analyze and evaluate your financial
situation. And in order to do this, we are required to perform a "means test analysis." To do this, you must
provide the following documents to us.

      □ Pay stubs or payment advices from your salaried employment for the past six months.
          y If you have not been employed during this period, you must give us your unemployment
                records including payments of unemployment benefits
            > If you are self-employed, you must give us evidence of your gross income and any business
               expenses deducted from your gross income for the past six months
             > We must have records from the six-month period before your filing date. If we have to redo
                your means test because your filing is delayed, we will charge additional fees
      □ Current credit report. You may obtain this from www.annualcreditreport.com
             > We highly recommend that you obtain a recent credit report fi-om all three major credit
                 reporting agencies (Experian, Equifax, TransUnion)
      □ Completed "Means Test Questionnaire"

        If you earn less than the median income for a family your size, you "pass" the means test without
 the need for additional analysis. However, if you make more than the median income, you must provide
 additional information for us to determine if you are eligible to file a Chapter 7 case.

      Here is the data we absolutely need to perform the mandatory means test analysis as prescribed
 bv Congress for those earning more than the median income. Please have it ready if we request it. You
 may want to check-off each item as you gather and send your records.

       □ Last 90 days of bills that you got from your creditors regardless whether you paid them.
       □ Last 90 days of bank statements and check registers
       □ Documents regarding any sale or transfer of any property within the last 2 years
       □ Documents regarding any transfer or payments to relatives within the last 2 years
       □   Income Tax Returns for the past 3 years
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     □ Copies of motor vehicle certificates of title
     □ Copies of mortgages recorded against your real estate
     □ Copies of any listing contracts for your real estate
     □ Copies of any pension plan, IRA or other retirement accounts and data concerning any
         withdrawals within the past 6 months
     □ Copies of life insurance policies you currently own, particularly with cash surrender value
     □ Copies of any pleadings for any lawsuit involving you
     □ Copies of any financing documents for any refinancing or non-purchase money, second or third
         mortgage loans obtained with the last 3 years.
     □ Copies of the most recent bills on mortgages, auto loans, life and health insurance policies
     □ Records of actual medical expenses during the past six months.
     □ Records of tuition for private or parochial school paid during the past six months.
     □ Records concerning charitable contributions given during the past six months.
     □ Records concerning intemet or telecommunication expenses during the past six months
     □ Records conceming child support or alimony paid or received during the past six months.

      Please provide all of this information to our Consumer Bankruptcy Coordinator as soon as possible.
We cannot even begin to work on your bankruptcy petition, statement of financial affairs or filing until we
have completed your "means test analysis."

Your Second Homework Assignment:

       As soon as you decide to file for bankruptcy, you must obtain credit counseling from a credit
counselor approved by the United States Trustee. We typically recommend InCharge Education Foundation
at www.personalfinanceeducation.com. There is a fee of $30.00 for this course that you will pay directly to
InCharge. Both ofyou must take credit counseling. You must complete the course and an interview with
the credit counselor to get the credit counseling certificate. You must have this certificate before you file.
Ifyou don% your case will be dismissed and you will have to start the process again. Do this right away,
preferably as soon as you sign this Agreement

STEP TWO: BANKRUPTCY PETITION & STATEMENT OF FINANCIAL AFFAIRS

Paying your Fee:

        Once we have completed your means test, you and we at Lakelaw want to get your case filed as
soon as possible because the "means test" accounts for your situation during the most recent six months. If
another month passes, the original means test analysis is no longer valid. We'll have to do it again taking
into account your income and expenses for the most recent month.

        We will be billing you in this case on an hourly basis. Our hourly fees range from $125/hour for
legal assistants to $650/hour for David Leibowitz. Other attorneys in the firm bill their time at lower rates.
We will use the attorney most qualified to do your work at the lowest level possible. You have paid us an
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initial retainer of $2,500 on January 9, 2017 for pre-bankruptcy analysis and planning. You are paying us
an additional $2,500 now at the outset of this case. From the total of$5,000, $4,690 is being applied to fees
and $310 to the cost of the filing fee. This fee will be treated as an advance retainer by our firm. However,
all fees in chapter 13 cases on an hourly basis are subject to allowance by the Bankruptcy Court. We will
petition for additional fees based on the time we spend in connection with your case. The balance of fees
due will be paid through your plan through plan payments as approved by the Bankruptcy Court.

        We have met on numerous occasions prior to the filing of your bankruptcy case and spent many
hours both with you and without you in connection with this matter. We will provide the Court with an
itemized statement of time we have spent on your petition at an appropriate time. We have agreed to cap
our pre-petition fees at $5,000 even though we have spent far more time than that in the preparation of your
case owing to the complexity and changes which have occurred in your circumstances as we have moved
forward.
        W
     FEES & CHARGES FOR SERVICES AND PAYMENT TERMS & PERFORMANCE OF
                                       "STANDARD SERVICES"


        Attached as Schedule A is a breakdown of fees you agree to pay Lakelaw for representing you in
your Chapter 13 Bankruptcy case. Your case will be handled on an hourly basis. At the present time, the
prevailing hourly rates ofthe attorneys at Lakelaw are as follows:

        David P. Leibowitz                      $650/hour
        Justin R.Storer                         $350/hour

        All fees and costs beyond the initial $4,690 previously paid will be paid by you through your plan.

       The Bankruptcy Code requires us to advise you that nothing in this Agreement shall be deemed to
be advice, that you must pay an attorney's fee to a Debt Relief Agency. Moreover, Lakelaw specifically
states that Clients shall under no circumstances incur additional debt in order to satisfy Client's obligations
under this Agreement.

 WHAT LAKELAW WILL DO FOR YOU -STANDARD SERVICES:

 Our fee includes compensation for the following ^'standard services"

• Analysis of your financial condition;
• Advice on seeking relief under Chapter 7 or Chapter 13 ofthe Bankruptcy Code;
• Assisting you to assemble all documents required to file a petition under the Bankruptcy Code;
• Advising you about the availability of exemptions under applicable law to allow you to keep certain
     property even though you are filing a bankruptcy case;
• Assisting you in meeting all requirements before making a petition for relief under the Bankruptcy
     Code and in meeting all conditions to obtain a discharge, if you are eligible;
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   Preparing you for examination at meeting ofcreditors pursuant to Section 341 ofthe Bankruptcy Code;
   Assisting you with reaffirmation agreements, if applicable;
   Assisting with routine lien avoidance proceedings, if applicable - under the Bankruptcy Code, you can
   avoid judgments against real estate and personal property- such as liens to secure personal loans;
    Assist in enforcing of the automatic stay, if required, to stop creditors from collecting debts against
    you;

    Arranging for electronic filing ofthe Client's bankruptcy petition and supporting papers;
    Communicating with your bankruptcy trustee;
    Communicating with your creditors, as necessary;
    Review of mortgage loans for Truth in Lending Act or other mortgage-related violations;
    Pursuit of any claims under Fair Debt Collection Practices or other Consumer Protection Acts
   Preparation of your Plan
    Attend 341 Meeting and hearings as necessary, and all steps in the process including plan confirmation
    Objection to claims as required

ADDITIONAL SERVICES COVERED BY THE AGREEMENT:


         Lakelaw will apply for fees and charge such sums as allowed by Court in your Chapter 13 case.
Leikelaw may require an additional retainer for "Additional Services" beyond the "Standard Services"
listed, 2ind is not obligated to provide additional services until after receiving this retainer.

Examples of"Additional Services" include, but are not limited to:

• Defending claims that your Bankruptcy Petition constitutes "Abuse" under the Bankruptcy Code
• Defending claims that one or more debts are non-dischargeable
• Defending claims that you are not entitled to a discharge imder the bankruptcy code
• Defending matters arising from your failure to disclose material facts, provide required documents,
    false statements you may make in your bankruptcy petition, schedules. Statement of Financial Affairs,
  or any documents provided or to be provided in support thereof
• Stripping a lien under § 506(a)of the Bankruptcy Code by adversary proceeding
• All services in connection with the sale of your home,including but not limited to title services

        You agree to pay attorney's fees for all Additional Services at the prevailing hourly rates of the
attorneys at Lakelaw set out above

STEP THREE: THE "341 MEETING"


        Once we file your case, your responsibilities are to address reaffirmation agreements, take a
financial management course, and attend a 341 Meeting. You must attend this meeting. If you do not
attend, the case may be dismissed, and you will not be refunded any portion ofour fees or costs.
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You must bring to the following documents to your 341 Meeting:

         □ Driver's license, state ID card or passport showing your identity and photograph
         □ Social security card or other official document showing your social security number

        Please arrive at the appointed location at least 15 minutes prior to your meeting so that your
attorney can brief you about this meeting. Also, read the "Bankruptcy Information Sheet," which is
available at the meeting for your convenience. The trustee may ask you whether you have done so.
        If you fail to attend the 341 Meeting, we will charge an additional $250 unless you document an
emergency or medical reason for not having attended.

STEP FOUR: Plan Payments, Confirmation, Discharge

        After the 341 meeting, you will have to make monthly payments to the Chapter 13 trustee. These
will be made directly to his lockbox at the address provided. These payments must be made on a timely
basis every month. You cannot buy, sell or borrow outside the ordinary course of business without court
authority. If you need to do so, please let us know so we can make the proper motions. If anything comes
up with your mortgage, please let us know. Filing the bankruptcy case will stop foreclosure proceedings, at
least temporarily. We will file a plan for the sale of your house. You will have to keep the court informed
of progress and get the court's permission to enter into the contract to sell your house.

        You will meet with the chapter 13 trustee who may questions or issues about your case. We will
assist you in resolving these. Ultimately, the chapter 13 tmstee is likely to recommend confirmation of your
plan. You will pay a set amount for 60 months. This amount could change later based on changed
circumstances. Moreover, additional sums you receive such as bonuses, stock options, windfalls or
inheritances will be property of your chapter 13 estate and may become subject to the plan. Let us know if
any such events occur so we can help you deal with them.

                    ACKNOWLEDGEMENT OF RECEIPT OF DISCLOSURES


Client acknowledges that Client has received copies of all Disclosure Documents attached to this
Agreement, all of which posted on our website at www.bankruDtcv.LakeLaw.com/disclosure.html

These documents include:


•   The Clerk's notice mandated by Section 342(b) and Section 527(a) of the Bankruptcy Code
•   "Important Information About Bankruptcy Assistance Services From an Attorney or Bankruptcy
    Petition Preparer" mandated by Section 527(b) of the Bankruptcy Code
•   "Notice to Be Provided Pursuant to Section 527(c) of the Bankruptcy Code."
•   "Notice to Be Provided Pursuant to Section 527(a) of the Bankruptcy Code"
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THE BANKRUPTCY CODE REQUIRES US TO EXPLICITLY & CONSPICUOUSLYINFORM YOU
THAT:


«WE ARE A DEBT RELIEF AGENCY. WE HELP PEOPLE FILE FOR BANKRUPTCY RELIEF
                                 UNDER THE BANKRUPTCY CODE"


       You understand that Lakelaw is unwilling to represent you without an advance payment retainer.
You agree this is an "advance payment retainer" and it is placed immediately in our general account.
At your option, you may require us to treat this as a security retainer. The choice of retainer is yours alone.
The reason we propose to treat this as an advance payment retainer is that this is perhaps the first time and
only time you will be our client. We have not made any inquiries into your credit-worthiness and you desire
our immediate attention to this matter. We will immediately or soon thereafter be utilizing the funds
provided in this advance retainer in any event. We agree that it is to your advantage that we give our
immediate and dedicated attention to this matter.
        Accordingly, by executing this agreement, you agree the retainer is an advance payment retainer.


If You Decide Not to File Your Bankruptcy Case:

If you decide not to file your bankruptcy case, you understand and agree that we will have expended
substantial time and effort on your behalf. Under these circumstances, we will bill you for our time at our
standard hourly rates, ranging from $650/hour for Mr. Leibowitz to $100/hour for our paralegals. The
maximum that we will bill you will be the funds you have paid us until the date you determine not to file
your case and so advise us. Any unearned fees will be paid. Costs not utilized will be applied to fees
earned. Otherwise, fees and costs will be refunded to you.

                                                        Sincerely,

                                                        Lakelaw



                                                By:
                                                        Attorney for Lakelaw




                                                                                          -              2ol7
                                                           Zhanna N Zagorodnuyk
AGREED:

                                                                                             7 /,
                                                           Evgeny JVfc^agorodnyuk
                                                       9
